Doc#:72 Filed:OS/OS/OQ Entered:08/03/0916:53:33 Page:l ofl

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August 3, 2009

 

Hon. Susan D. Barrett w -C: §

vIA HAND-DELIVERY § §§ 3

United States Banl<ruptcy Court §§§ §§ ._

Southern District of Georgia ;: §§ 07 "'F]

Federal Justice Center Plaza Building ix §§ §§ 93 ,;:

600 James Brown Blvd §~>g;j -U m

Augusra, GA 30901 p§; -`~¢ CJ
§ ;~:1 ‘~`

Re: Crocker v. NCO Financial Systems, Inc
Chapter 13 Case No. 04-14200
Adv. No. 08~1053-SDB

Dear Judge Barrett:

This letter is a follow-up to my discussion With your courtroom deputy regarding
the settlement of all issues in the above-referenced adversary proceeding l am Sending
this letter so that the hearing scheduled for August 4th on the NCO motions With Plaintiff
responses may be removed from the calendar. Ken Grace joins in this request. By copy
of this letter I am notifying all parties. Should the court require an announcement on the

record, l can make myself available

The parties will file either a consent order or joint stipulation of dismissal within
20 days of the scheduled hearing. If anything else is required to remove the matter from

the calendar, please let me know.

 

ZPL/ alt

Cc: Ken Grace (via facsimile)
Chn's Cosper (via facsimile)

 

